      Case 3:02-cv-00339-AN             Document 614-3          Filed 06/20/25        Page 1 of 2




                                    IRA K. PACKER, Ph.D.
                                Forensic Consultation and Training

                           Board Certified in Forensic Psychology, ABPP
                                            P.O. Box 469
                                         Sharon, MA 02067
                                           508-981-5952
                                   forensictraining@gmail.com


January 2, 2025

Emily Cooper, Esq.
Disability Rights Oregon (DRO)
511 SW 10th Avenue, Suite 200
Portland, OR 97205


Attorney Cooper,

   Attached is my invoice for services related to Disability Rights Oregon v. Hathi, 3:02-cv-00339.
Please let me know if you have any questions. Also, please let me know if you will need anything else from
me related to this case. It has been a pleasure working with you and Tom.



Sincerely,




Ira K. Packer, Ph.D., ABPP (Forensic)




                                                                                           Exhibit C
                                                                                           Emily Cooper Decl.
                                                                                           Page 1 of 2
      Case 3:02-cv-00339-AN          Document 614-3          Filed 06/20/25      Page 2 of 2




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                              Forensic Consultation and Training

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                                           P.O. Box 469
                                        Sharon, MA 02067
                                          508-981-5952
                                  forensictraining@gmail.com


                        INVOICE FOR PROFESSIONAL SERVICES


Date of Invoice: January 2, 2025
Invoiced to: Disability Rights Oregon (DRO)
              Emily Cooper, Esq.
              511 SW 10th Avenue, Suite 200
             Portland, OR 97205

Services related to Disability Rights Oregon v. Hathi, 3:02-cv-00339

Service details:
 Date                Activity                                                 Hours
 12/10/24            Review Dr. Pinals reports                                2.5
 12/12/24            Review Dr. Pinals reports                                2
 12/13/24            Review materials                                         1
 12/16/24            Meet with attorneys; review materials                    2
 12/19/24            Review materials                                         2
 12/20/24            Review materials/draft questions for Dr. Pinals          2
 12/20/24            Meet with Dr. Pinals                                     0.75
 12/23/24            Review materials; report writing                         3
 12/24/24            Review materials; report writing                         4
 12/27/24            Review materials; report writing                         3

Total hours invoiced:                                                         22.25 hours


Total Invoice: 22.25 hours @$400/hour = $8900




                                                                                            Exhibit C
                                                                                            Emily Cooper
                                                                                            Decl.
                                                                                            Page 2 of 2
